               Case 5:09-cr-50111-TLB                   Document 52               Filed 11/18/13            Page 1 of 7 PageID #: 107

'll>.AO 245D    (Rev. 12/03) Judgment in a Criminal Case for Revocations
                Sheet 1



                                       UNITED STATES DISTRICT COURT
                        WESTERN                                      District of                              ARKANSAS
         UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                    V.                                                     (For Revocation of Probation or Supervised Release)


                                                                           Case Number:                      5:09CR50111-002
                   CARISSA L. SHIPP                                                                          5: IOCR5000 1-00 I
                                                                           USMNumber:                        09162-010
                                                                           Jack Schisler
                                                                           Defendant's Attorney
THE DEFENDANT:
X admitted to violation of condition(s)                as shown on page 2.
o was found in violation of condition(s) _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                  Nature of Violation                                                              Violation Ended




       The defendant is sentenced as provided in pages 2 through              ___7:..-_ of this judgment, with the court considering the
sentencing guidelines as non-binding and advisory only.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fmes, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Defendant's Soc. Sec. No.:     XXX-XX-5717                                 November 15 2013
                             ~~~~~~-----
                                                                           Date of Imposition of Judgment
Defendant's Date of Birth:   .=.XXfXXI==~19~8~7:- _ _ _ _ __




                                                                           Signature of Judge
Defendant's Residence Address:
xxxxxxxxxxxxxxx
Springdale, AR 72764                                                       Honorable Jimm Larry Hendren, United States District Judge
                                                                           Name and Title of Judge




                                                                           Date
Defendant's Mailing Address:



Springdale, AR 72764
          Case 5:09-cr-50111-TLB                    Document 52            Filed 11/18/13        Page 2 of 7 PageID #: 108
AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet lA

                                                                                                   Judgment-Page _.:::;.2_ of      7
DEFENDANT:                SHIPP, Carissa L.
CASE NUMBER:              5 :09CR50 111-002; 5: 1OCR5000 1-00 1

                                                      ADDITIONAL VIOLATIONS
                                        ALLEGATIONS ADMITTED BY THE DEFENDANT
                                                       July 31, 2013 Petition                                         Violation
Violation Number               Nature of Violation                                                                    Concluded
          One                  Standard Condition 7: Defendant tested positive for methamphetamine on April
                               9 and 15,2013; and failed to report for drug testing on June 19,2013 and
                               July 22, 2013. Taken under advisement on 8/2912013. Admitted on 11115/2013.            07/22/2013

          Two                  Standard Condition 6: Defendant moved from her place of residence without
                               advising the probation officer on or about July 17,2013.                               07117/2013
                               Taken under advisement on 8129/2013. Admitted on 11/15/2013.

          Three                Monetary Penalties: Defendant failed to pay restitution in April, May, June, and
                               July 2013. Taken under advisement on 8/2912013. Admitted on 11/1512013.                07/0512013

          Four                 Standard Condition 5: Defendant failed to work regularly at a lawful occupation
                               since June 2013. Taken under advisement on 8/2912013.                                  07/3112013
                                Admitted on 11/15/2013.

                                                                October 30, 2013 Petition

          One                  Standard Condition 7: Defendant failed to comply with drug testing in that she
                               tested positive for and admitted to the use of methamphetamine on October 18, 201
                               2013; she failed to report as directed for a drug test on October 28, 2013; and she
                               admitted to the use of methamphetamine on October 29,2013.                             10/30/2013
                               Admitted on 11/15/2013.

          Two                  Standard Condition 6: Defendant reported to the probation officer she had not
                               stayed consistently at her listed place of residence and had failed to notity the
                               probation officer of the same. Admitted on 11/15/2013.                                 10/30/2013
          Case 5:09-cr-50111-TLB                    Document 52               Filed 11/18/13     Page 3 of 7 PageID #: 109

AO 2450    (Rev. 12103 Judgment in a Criminal Case for Revocations
           Sheet 2- Imprisonment
                                                                                                Judgment - Page _..:.3_   of   7
DEFENDANT:                  CARISSA L. SHIPP
CASE NUMBER:                5:09CR50111-002 and 5:lOCR50001·001


                                                           IMPRISONMENT

         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a total
total term of :     6 months on each of the two cases to run concurrently




   o The court makes the following recommendations to the Bureau of Prisons:



   o The defendant is remanded to the custody of the United States Marshal.
   o The defendant shall surrender to the United States Marshal for this district:
        o at ----------------- o a.m.                           0 p.m.    on

        o as notified by the United States Marshal.
   o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
       o    as notified by the United States Marshal.

       o    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

a _________________________ with a certified copy of this judgment.




                                                                                               UNITEDSTATES~HAL




                                                                         By
                                                                                          DEPUTY UNITED STATES MARSHAL
AO 245B   Case     5:09-cr-50111-TLB
          (Rev. 06/05) Judgment in a Criminal Case Document 52           Filed 11/18/13          Page 4 of 7 PageID #: 110
          Sheet 3 - Supervised Release
                                                                                                   Judgment-Page _ _
                                                                                                                   4 _ of             7
DEFENDANT:                CARISSA L. SHIPP
CASE NUMBER:              5:09CR50111-002 and 5: IOCR50001-00 I
                                                  SUPERVISED RELEASE
Defendant is placed on supervised release for a tenn of: 1 year on each of the two cases to run concurrently
whic~ .tenn slial! commence immediately upon her release from imprisonment, and which shall be served under the following
condItIons:




Within 72 hours of release from custody of the Bureau of Prisons, the defendant shall report in person to the probation office in the
to which the defendant is released.

1. The defendant shall not commit another federal, state or local crime; the defendant shall be prohibited from possessing any
flreann or other dangerous device; and the defendant shall not use, possess, use or have anything at all to do with any controlled
substance.

2. The defendant shall comply with the mandatory drug testing provisions of 18 U.S.C. § 3583(d).

3. The defendant shall comply with the DNA collection provisions of 18 U.S.C. § 3583(d).

4. If this judgment imposes a fIne or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

5. The defendant shall comply with the Standard Conditions ofSul'ervised Release as recommended by the United States
Sentencing Commission and as set out below on this page of the juagment, as well as any additional conditions on the attached
page.




                                  STANDARD CONDITIONS OF SUPERVISION
  1)   the defendant shall not leave the judicial district without the pennission of the court or probation officer;
 2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
 6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalia related to any controlled suostances, except as prescribed by a physician;
 8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
       of a felony, unless granted pennission to (10 so by die probation officer;
10)    the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confIscation
       of any contraband observed ill plain view of the probation officer;
II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
12)    the defendant shall not enter into any agreement to act as an infonner or a special agent ofa law enforcement agency without the
       pennission of the court; and
13)    the defendant shall- as directed by the probation officer - notify third parties ofrisks that may be occasioned by the defendant's
       criminal record or personal history or characteristics and shalfpennit the probation officer to make such notifIcations and to
       confirm the defendant's compliance with such notifIcation requirement.
AO 245D Case   5:09-cr-50111-TLB
         (Rev. 12/03) Judgment in a Criminal Case Document
                                                  for Revocations 52   Filed 11/18/13       Page 5 of 7 PageID #: 111
         Sheet 3C Supervised Release
                                                                                               Judgment-Page --L- of           7
DEFENDANT:               CARISSA L. SHlPP
CASE NUMBER:             5;09CRSO 111-002 and 5: 1OCRSOOO 1-00 1

                                    SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall submit to inpatient or outpatient substance abuse testing, evaluation, counseling and/or treatment as
   deemed necessary and directed oy the U.S. Probation Officer.
2. The defendant shan submit her person, residence, place of employment and vehicle to a search conducted by the U.S. Probation
   Officer at a reasonable time and in a reasonable manner based upon reasonable suspicion of evidence of a VIOlation ofany
   condition ofsupervised release might be thereby disclosed.
3. The defendant shall not incur any new debt or establish any bank or credit accounts unless receiving prior approval from the u.s.
   Probation Office, and will make any information concerning her financial status available to the pronation officer upon request.
   This condition shall remain in effect until such time the fmancial penalties have been paid in full.
    AO 245D   Case    5:09-cr-50111-TLB
               (Rev. 12103)                              Document
                            Judgment in a Criminal Case for Revocations 52       Filed 11/18/13          Page 6 of 7 PageID #: 112
                Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment -   Page _   .....6,--   of _..1..7_ __
DEFENDANT:
CASE NUMBER:
                                              CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                    Assessment                                          Fine                                 Restitution
TOTALS            $ - 0-                                     2,500.00*
                                                                    $                                      $ 3,291.14*
*The remaining balance of the fine and restitution originally ordered.

    The determination of restitution is deferred until
    after such detennination.
                                                           ---. An Amended Judgment in a Criminal Case (AD 245C) will be entered
o The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYlllent, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                                Total Loss*                         Restitution Ordered                     Priority or Percentage




TOTALS                               $_------                                 $_------------­
o    Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ __

o    The defendant must pay interest on restitution or a fme more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the              X fme         o restitution.
     o the interest requirement for the                 fine     o restitution is modified as follows:

* Findings for the total amountoflosses are required under Chapters 109A, 110, 1 lOA, and 113A ofTitle 18 for offenses committed on or after
Septeml:ier 13, 1994, but before April 23, 1996.
               Case 5:09-cr-50111-TLB                     Document 52             Filed 11/18/13      Page 7 of 7 PageID #: 113
AO 245D      (Rev. 12/03) ludgment in a Criminal Case for Revocations
             Sheet 6 - Schedule of Payments

                                                                                                         ludgment - Page _7J..-_ of          7
DEFENDANT:                   CARISSA L. SHIPP
CASE NUMBER:                 5:09CR501 11-002 and 5:10CR50001-001

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     X    Lump sum payment of $           5. 791.14              due immediately, balance due

           D not later than _ _ _ _ _ _ _ _ _ _ • or
           X    in accordance with       D    C,     D     D,    D      E, or    X F below); or

B     D    Payment to begin immediately (may be combined with                   DC,      D D, or   D F below); or
C     D    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date ofthis judgment; or

D     0    Payment in equal             (e.g., weekly, monthly, quarterly) installments of $                    over a period of
          _ _ _ _ _ (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           tenn of supervision; or

E          Payment during the tenn of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F    X     Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall pay the remaining fme and restitution of $5,791.14! with no interest to be accrued. If not paid immediately,
           any unpaid financial penaltyimposed shall be paid during the period oftmprisonment at a rate of$25.00 quarterly or 10% oftlie
           defendant's quarterly earnings l whichever is greater. The payment of any remaining balance shall be paid during the period of
           supervised release in monthly lllstallments of $1 00 or 10% of the defendant's net monthly household lllcome, wfiichever is greater,
           wlth the entire balance to be paid in full no later than one month prior to the end of supervised release.


Unless the court has expressly ordered otherwise in the special instruction above, ifthis judgment imposes imprisonment, payment ofcriminal
monetary penalties is oe due during the period of imprisonment. All criminal monetary penalties, except diose payments made through the
Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and corresponding
     payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
